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 SNR Denton US LLP
 Hugh M. McDonald
 1221 Avenue of the Americas
 New York, New York 10020
 Telephone: (212) 768 6700
 Facsimile: (212) 768-6800


 Special Counsel for Debtors and Debtors in Possession

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------------------x
                                                                     :
 In re                                                               :   Chapter 11 Case No.
                                                                     :
 LEHMAN BROTHERS HOLDINGS INC., et al., :                                08-13555 (JMP)
                                                                     :
                                     Debtors.                        :   (Jointly Administered)
                                                                     :
 ------------------------------------------------------------------- x

         SUMMARY SHEET PURSUANT TO UNITED STATES TRUSTEE
     GUIDELINES FOR REVIEWING APPLICATIONS FOR COMPENSATION
   AND REIMBURSEMENT OF EXPENSES FILED UNDER 11 U.S.C. §§ 330 AND 331

                      FINAL FEE APPLICATION OF SNR DENTON US LLP

 Name of Applicant:                                     SNR Denton US LLP
 Role in the Case:                                      Special Counsel to the Debtors
                                                        August 19, 2010 (Nunc pro tunc to January 1,
 Date of Retention:                                     2010)
 Period for which compensation                          January 1, 2010, through and including
 and reimbursement are sought:                          March 6, 2012
 Total amount of compensation
 sought for fees:                                       $2,580,865.12
 Total amount of reimbursement
 Sought for expenses:                                   $17,064.57
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 Prior Interim Applications filed:          First Interim Fee Application, filed December 14,
                                            2010 [Docket No. 13488], for the period from
                                            January 1, 2010 through and including September
                                            30, 2010

                                            Fees Previously requested:           $675,258.00
                                            Fees Previously Awarded:             $671,472.87
                                            Expenses Previously Requested:       $2,829.61
                                            Expenses Previously Allowed:         $2,829.61


                                            Second Interim Fee Application, filed April 15,
                                            2011 [Docket No. 16081], for the period from
                                            October 1, 2010 through and including
                                            January 31, 2011

                                            Fees Previously requested:           $313,304.00
                                            Fees Previously Awarded:             $307,151.50
                                            Expenses Previously Requested:       $1,387.27
                                            Expenses Previously Allowed:         $376.42

                                            Third Interim Fee Application, filed July 15, 2011
                                            [Docket No. 18576], for the period from
                                            February 1, 2011 through and including May 31,
                                            2011

                                            Fees Previously requested:           $725,112.50
                                            Fees Previously Awarded:             $720,322.75
                                            Expenses Previously Requested:       $1,481.27
                                            Expenses Previously Allowed:         $1,395.02

                                            Fourth Interim Fee Application, filed December
                                            14, 2011 [Docket No. 23414], for the period from
                                            June 1, 2011 through and including September 30,
                                            2011

                                            Fees Previously requested:           $514,626.00
                                            Fees Previously Awarded:             $511,801.00
                                            Expenses Previously Requested:       $11,284.29
                                            Expenses Previously Allowed:         $6,991.04




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                                         Fifth Interim Fee Application, filed May 18, 2012
                                         [Docket No. 27959], for the period from October
                                         1, 2011 through and including March 6, 2012
                                         Fees Previously requested:            $370,117.00
                                         Fees Previously Awarded:              Pending
                                         Expenses Previously Requested:        $5,472.48
                                         Expenses Previously Allowed:          Pending


 This Application is:                           Interim      X    Final




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          PROFESSIONALS AND PARAPROFESSIONALS RENDERING SERVICES
                      From January 1, 2010 through March 6, 2012

                                           Summary of Partners and of Counsel

         NAME OF                             YEAR                   HOURLY                  TOTAL                    TOTAL
      PROFESSIONAL                         ADMITTED                  RATE                   HOURS                 COMPENSATION
    PARTNERS AND OF                                                                         BILLED
        COUNSELS:
 Carol Anne Been                                 1983                     $630.00                      0.8                          $504.00
                                                                          $675.00                      1.8                        $1,215.00
 Roger T. Brice                                  1973
                                                                          $695.00                      2.3                        $1,598.50
 Stephen Cerniglia                               1996                     $645.00                      6.5                        $4,192.50
                                                                          $665.00                     47.3                       $31,454.50
 Meghan Cocci                                    1998
                                                                          $685.00                    187.4                      $128,369.00
 Joseph A. Colagiovanni, Jr.                     1982                     $690.00                     13.6                        $9,384.00
                                                                          $900.00                        7                        $6,300.00
 A. James Cotins                                 1990
                                                                          $925.00                        4                        $2,898.00
                                                                          $655.00                      5.2                        $3,406.00
 Mark W. Daliere                                 1993
                                                                          $675.00                    149.3                      $100,777.50
 Richard L. Fenton                               1978                     $745.00                      2.1                        $1,564.50
                                                                          $560.00                    136.9                       $76,664.00
 Robert L. Fernandez1                            1999                     $590.00                    295.5                      $174,345.00
                                                                          $620.00                      1.9                        $1,178.00
                                                                          $760.00                      1.7                        $1,292.00
 Jonathan D. Forstot                             1989
                                                                          $785.00                      1.5                        $1,177.50
                                                                          $745.00                      0.3                          $223.50
                                                                          $765.00                      0.3                          $229.50
 Alan S. Gilbert2                                1975
                                                                          $820.00                      1.3                        $1,066.00
                                                                          $865.00                      0.5                          $432.50
                                                                          $615.00                      5.4                        $3,321.00
 Brett L. Gross                                  2000
                                                                          $625.00                      4.5                        $2,812.50
 Fruman Jacobson                                 1973                     $880.00                        1                          $880.00
                                                                          $900.00                     17.9                       $16,110.00
 Erik D. Klingenberg                             1994
                                                                          $925.00                      3.7                        $3,422.50
                                                                          $610.00                     22.5                       $13,725.00
 Matthew J. Lyons                                2003
                                                                          $635.00                        1                          $635.00
                                                                          $805.00                      20                        $16,100.00
                                                                          $830.00                        1                          $830.00
 Hugh M. McDonald3                               1990
                                                                          $845.00                     37.7                       $31,856.50
                                                                          $880.00                      0.4                          $352.00
                                                                          $645.00                      3.3                        $2,128.50
 Peter J. Mignone                                1997
                                                                          $665.00                      3.5                        $2,327.50
 Jeffrey J. Murphy                               1984                     $900.00                      2.6                        $2,340.00
 Barry B. Nekritz                                1962                     $710.00                     13.4                        $9,576.50
 Lisa M. Pekkala                                 2001                     $605.00                      0.3                         $181.50
 Robert E. Richards                              1988                     $625.00                      2.4                        $1,500.00

 1
   These summaries represent entries as they appeared on SNR Denton’s monthly invoices. In some instances, certain SNR Denton attorneys and
 paraprofessionals were billed at incorrect rates for particular time entries on SNR Denton’s monthly invoices. SNR Denton identified these
 instances and made the appropriate deductions from the fees requested on the respective interim applications. These summaries do not reflect
 additional credits given by SNR Denton to the Debtors for fees received prior to retention and certain reductions agreed by the Fee Committee
 and SNR Denton.
 2
   See supra note 1.
 3
   See supra note 1.
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          NAME OF                    YEAR          HOURLY        TOTAL           TOTAL
       PROFESSIONAL                ADMITTED         RATE         HOURS        COMPENSATION
      PARTNERS AND OF                                            BILLED
         COUNSELS:
                                                     $600.00            1.1              $660.00
 Todd M. Stennes                     1992
                                                     $650.00            1.6             $1,040.00
                                                     $660.00            4.8             $3,168.00
 Frank P. VanderPloeg                1973
                                                     $680.00            8.6             $5,848.00
                                                     $815.00            2.6             $2,119.00
 Stephen T. Whelan                   1972
                                                     $865.00            0.8              $692.00
                                                     $685.00          431.6          $295,646.00
 Linda D. White                      1976
                                                     $705.00          810.7          $571,543.50
                                                     $815.00          167.9          $136,838.50
 Mitchell G. Williams4               1985            $840.00         262.60          $217,189.50
                                                     $895.00            9.7             $8,626.50
 Douglass T. Wingo                   1994            $655.00            1.0              $655.00
 Marjorie J. Zessar                  1994            $600.00           97.4            $58,720.00
 TOTAL                                                              2808.20         $1,959,116.00



                                        Summary of Associates

                                                                 TOTAL
     NAME OF PROFESSIONAL             YEAR          HOURLY       HOURS           TOTAL
         ASSOCIATES:                ADMITTED         RATE        BILLED       COMPENSATION
                                                       $400.00       145.4           $58,160.00
 Linda Bechutsky                            2009
                                                       $455.00       133.1           $60,560.50
 Michael M. Cunningham                      2008       $380.00        12.1            $4,598.00
 Michael A. Demetriou                       2006       $395.00        31.3           $12,363.50
 Matthew R. Diament                         2010       $315.00         10             $3,150.00
 Tyler Ellsworth                             N/A       $255.00         7.5            $1,912.50
 George L. Espinal                          2001       $560.00           3            $1,680.00
 Michael D. Flynn                           2009       $300.00         3.7            $1,110.00
                                                       $535.00        71.3           $38,145.50
 Rachel L. Goetz 5                          2003       $520.00         2.2            $1,144.00
                                                       $550.00       174.7           $96,085.00
                                                       $470.00        33.3           $15,651.00
 Jonathan S. Grebinar                       2004
                                                       $550.00         0.7              $385.00
 Haber Steven Z.                            2005       $470.00        31.1           $14,617.00
 Rachel D. Ittner                           2007       $350.00         6.1             2,135.00
 Jennifer A. Knight                         2011       $280.00         1.2              $336.00
                                                       $325.00        52.3           $16,997.50
 Christopher H. Lee                         2007
                                                       $340.00        65.7           $22,338.00
                                                       $515.00        53.1           $27,346.50
 Keith H. Londo                             2004
                                                       $525.00       259.8          $136,395.00
 Matthew J. Lyons                           2003       $550.00         2.6            $1,430.00
                                                       $350.00        72.4           $25,340.00
 David A. Pisciotta6                        2010       $370.00         1.4              $518.00
                                                       $395.00         6.1            $2,409.50
 Syed A. Rafatullah                         2006       $265.00         5.5            $1,457.50

 4
   See supra note 1.
 5
   See supra note 1.
 6
   See supra note 1.


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                                                                    TOTAL
     NAME OF PROFESSIONAL              YEAR          HOURLY         HOURS           TOTAL
         ASSOCIATES:                 ADMITTED         RATE          BILLED       COMPENSATION
                                                        $505.00          20.2           $10,201.00
 Brian J. Shortt                             2007
                                                        $515.00          12.4            $6,386.00
 Ingrid M. Waldman                           2006       $515.00          83.6           $43,054.00
 Stephanie L. Wowchuk                        2007       $345.00          18.9            $6,520.50
 TOTAL                                                                1320.70          $612,426.50



                                      Summary of Paraprofessionals

  NAME OF PROFESSIONAL
   PARALEGALS, CLERKS,
    LIBRARY STAFF AND                                     TOTAL HOURS              TOTAL
 OTHER NON-LEGAL STAFF                 HOURLY RATE          BILLED              COMPENSATION
 Mary B. Anderson                             $240.00              29.60                 $7,104.00
                                              $230.00              23.00                 $5,290.00
 Rita P. Barkachy7                            $235.00              34.00                 $7,990.00
                                              $245.00              27.90                 $6,835.50
                                              $275.00               1.30                  $357.50
 George L. Medina
                                              $285.00               5.10                 $1,453.50
 Daniel Pina                                  $285.00               3.50                  $997.50
                                              $210.00               5.70                 $1,197.00
 Katharine L. Seidelman
                                              $215.00              13.60                 $2,924.00
                                              $230.00              20.30                 $4,669.00
 Andy Siegler
                                              $240.00               2.10                  $504.00
 TOTAL                                                            166.10                $39,322.00




                              Summary of Professionals and Paraprofessionals

             PROFESSIONALS                                        TOTAL
                                                                  HOURS            TOTAL
 TOTALS:                                  BLENDED RATE            BILLED        COMPENSATION
 Partners and Of Counsel                            $697.40          2,808.20        $1,959,116.00
 Associates                                         $463.71          1,320.70         $612,426.50
 Paraprofessionals                                  $236.74            166.10           $39,322.00
 Blended Attorney Rate                              $622.95          4,295.00
 Total Fees Incurred                                                                   $2,610,864.50
 Total Compensation Sought                                                             $2,580,865.12




 7
     See supra note 1.


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 Facsimile: (212) 768-6800


 Special Counsel for Debtors and Debtors in Possession

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------------------x
                                                                     :
 In re                                                               :   Chapter 11 Case No.
                                                                     :
 LEHMAN BROTHERS HOLDINGS INC., et al., :                                08-13555 (JMP)
                                                                     :
                                     Debtors.                        :   (Jointly Administered)
                                                                     :
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                     APPLICATION OF SNR DENTON US LLP,
         AS SPECIAL COUNSEL FOR THE DEBTORS, FOR FINAL ALLOWANCE
           OF COMPENSATION FOR PROFESSIONAL SERVICES RENDERED
          AND REIMBURSEMENT OF ACTUAL AND NECESSARY EXPENSES
             INCURRED FROM JANUARY 1, 2010 THROUGH MARCH 6, 2012

 TO THE HONORABLE JAMES M. PECK,
 UNITED STATES BANKRUPTCY JUDGE:

         SNR Denton US LLP (“SNR Denton”), attorneys for Lehman Brothers Holdings Inc.

 (“LBHI”) and its affiliated debtors in the above-referenced chapter 11 cases, as debtors in

 possession (together with LBHI, the “Debtors” and, collectively with their non-debtor affiliates,

 “Lehman”), for its final application (the “Application”), pursuant to sections 330(a) and 331 of

 title 11 of the United States Code (the “Bankruptcy Code”) and Rule 2016 of the Federal Rules

 of Bankruptcy Procedure (the “Bankruptcy Rules”), for the allowance of compensation for

 professional services performed by SNR Denton for the period commencing January 1, 2010

 through and including March 6, 2012 (the “Total Compensation Period”), and for reimbursement



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 of its actual and necessary expenses incurred during the Total Compensation Period, respectfully

 represents:

                                         JURISDICTION

         1.     This Court has jurisdiction to consider the Application pursuant to 28 U.S.C.

 sections 157 and 1334. Consideration of the Application is a core proceeding pursuant to 28

 U.S.C. section 157(b)(2). Venue of this case is proper in this district pursuant to 28 U.S.C.

 sections 1408 and 1409. The statutory predicates for the relief requested herein are sections 330

 and 331 of the Bankruptcy Code.

                                         BACKGROUND

         1.     Commencing on September 15, 2008 and periodically thereafter (as applicable,

 the “Commencement Date”), the Debtors commenced with this Court voluntary cases under

 chapter 11 of the Bankruptcy Code. The Debtors’ chapter 11 cases have been consolidated for

 procedural purposes only and are being jointly administered pursuant to Bankruptcy Rule

 1015(b). The Debtors are authorized to operate their businesses and manage their properties as

 debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

         2.     On September 17, 2008, the U.S. Trustee appointed the Creditors’ Committee

 pursuant to section 1102 of the Bankruptcy Code.

         3.     On September 19, 2008, a proceeding was commenced under the Securities

 Investor Protection Act of 1970, as amended (“SIPA”) with respect to Lehman Brothers Inc.

 (“LBI”). James W. Giddens, Esq. is the trustee appointed to administer LBI’s estate under the

 SIPA.

         4.     On January 19, 2009, the U.S. Trustee appointed Anton R. Valukas as examiner

 (the “Examiner”) and by order, dated January 20, 2009, the Court approved the U.S. Trustee’s

 appointment of the Examiner. On March 11, 2010, the Examiner issued his report pursuant to


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 section 1106(b) of the Bankruptcy Code. On July 13, 2010, the Court entered an order

 discharging the Examiner and his professionals.

        5.      On May 26, 2009, the Court entered an order appointing a fee committee (the

 “Fee Committee”) and on April 14, 2011, the Court entered an order amending the fee protocol

 (the “Amended Fee Protocol”) to make recommendations with respect to fees and expenses of

 retained professionals in these cases.

        6.      Additional information regarding the Debtors’ businesses, capital structures, and

 the circumstances leading to the commencement of these chapter 11 cases is contained in the

 Affidavit of Ian T. Lowitt Pursuant to Rule 1007-2 of the Local Bankruptcy Rules for the

 Southern District of New York in Support of First-Day Motions and Applications, filed on

 September 15, 2008 [Docket No. 2].

        7.      On August 4, 2010, the Debtors filed an Application Pursuant to Section 327(e) of

 the Bankruptcy Code and Rule 2014(a) of the Federal Rules of Bankruptcy Procedure for

 Authorization to Employ and Retain Sonnenschein Nath & Rosenthal LLP, as Special Counsel to

 the Debtors, Nunc Pro Tunc to January 1, 2010 (Docket No. 10632, the “Retention

 Application”). Prior to retention, SNR Denton performed legal services on behalf of the Debtors

 as professionals used in the ordinary course of business, in compliance with the Court’s Order

 Pursuant to Sections 105(a), 327, 328, and 330 of the Bankruptcy Code Authorizing the Debtors

 to Employ Professionals Utilized in the Ordinary Course of Business, dated November 5, 2008

 [Docket No. 1394] (the “OCP Order”). SNR Denton determined that it met the compensation

 limit for ordinary course professionals under the OCP Order on or about January 1, 2010, and

 accordingly filed the Retention Application. By way of the Retention Application, the Debtors

 requested authorization from the Court, to employ Sonnenschein Nath & Rosenthal LLP as

 special counsel to the Debtors, for which Sonnenschein Nath & Rosenthal LLP may perform

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 legal services from time to time, effective nunc pro tunc to January 1, 2010. On August 19,

 2010, the Court granted the Debtors’ Application to employ Sonnenschein Nath & Rosenthal

 LLP as special counsel [Docket No. 10949]. Specifically, Sonnenschein Nath & Rosenthal LLP

 was engaged in the representation of the Debtors with respect to various real estate matters,

 including, in part, loan workouts and modifications, loan sales, real estate equity investments,

 real estate financings, enforcement of remedies under loan documentation, and negotiation of,

 and advice concerning, management agreements for REO properties (the “Representative

 Matters”).

        8.      Effective September 30, 2010, Sonnenschein Nath & Rosenthal combined with

 Denton Wilde Sapte LLP (the “Combination”). As a result, the Firm changed its name to SNR

 Denton US LLP as of that effective date.

        9.      SNR Denton filed its first application for interim allowance of compensation for

 professional services rendered and reimbursement of actual and necessary expenses incurred

 from January 1, 2010 through September 30, 2010 on December 14, 2010.

        10.     SNR Denton filed its second application for interim allowance of compensation

 for professional services rendered and reimbursement of actual and necessary expenses incurred

 from October 1, 2010 through January 31, 2011 on April 15, 2011.

        11.     SNR Denton filed its third application for interim allowance of compensation for

 professional services rendered and reimbursement of actual and necessary expenses incurred

 from February 1, 2010 through May 31, 2011 on July 15, 2011.

        12.     SNR Denton filed its fourth application for interim allowance of compensation for

 professional services rendered and reimbursement of actual and necessary expenses incurred

 from June 1, 2011 through September 30, 2011 on December 14, 2011.




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        13.    SNR Denton filed its fifth application for interim allowance of compensation for

 professional services rendered and reimbursement of actual and necessary expenses incurred

 from October 1, 2011 through March 6, 2012 on May 18, 2012.



                   SUMMARY OF PROFESSIONAL COMPENSATION
                  AND REIMBURSEMENT OF EXPENSES REQUESTED

        14.    This is SNR Denton’s application for final allowance of compensation and

 reimbursement of expenses as a section 327(e) professional in these chapter 11 cases. SNR

 Denton seeks final allowance of compensation for professional services performed during its

 tenure as special counsel to the Debtors in the amount of $2,580,865.12 and for reimbursement

 of expenses incurred in connection with the performance of such services in the amount of

 $17,064.57. During the Total Compensation Period, SNR Denton attorneys and

 paraprofessionals expended a total of 4,295 hours in connection with the necessary services

 performed. Of the aggregate time expended, 2802 recorded hours were expended by partners

 and counsel of SNR Denton, 1320.7 recorded hours were expended by associates, and 166.1

 recorded hours were expended by paraprofessionals of SNR Denton.

        15.    This Application and all prior interim applications have been prepared in

 accordance with the Guidelines for Fees and Disbursements for Professionals in Southern

 District of New York Bankruptcy Cases adopted by the Court on June 20, 1991 and the

 Amended Guidelines for Fees and Disbursements for Professionals in Southern District of New

 York Bankruptcy Cases adopted by the Court on April 19, 1995 (together the “Local

 Guidelines”), the United States Trustee Guidelines for Reviewing Applications for

 Compensation and Reimbursement of Expenses Filed Under 11 U.S.C. § 330 adopted on January

 30, 1996 (the “UST Guidelines”), and the Fourth Amended Order Pursuant to Sections 105(a)

 and 331 of the Bankruptcy Code and Bankruptcy Rule 2016(a) Establishing Procedures for
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 Interim Monthly Compensation and Reimbursement of Expenses of Professionals [Docket No.

 15997] (the “Interim Compensation Order,” and together with the Local Guidelines and the UST

 Guidelines, the “Guidelines”). Pursuant to the Amended Fee Protocol, the Debtors will provide

 a copy of this Application to the Fee Committee and have provided copies of all prior interim

 applications to the Fee Committee.

        16.     The fees charged by SNR Denton in these cases were billed in accordance with

 SNR Denton’s existing billing rates and procedures in effect during the respective periods. The

 rates SNR Denton charges for the services rendered by its professionals and paraprofessionals in

 these chapter 11 cases are the same rates SNR Denton charges for professional and

 paraprofessional services rendered in comparable bankruptcy and non-bankruptcy related

 matters. Such fees are reasonable based on the customary compensation charged by comparably

 skilled practitioners in comparable bankruptcy and non-bankruptcy cases in a competitive

 national legal market.

        17.     In the regular course of its business SNR Denton adjusts its billing rates from time

 to time. The rates described herein are SNR Denton’s standard hourly rates for services of the

 type provided to the Debtors during the Total Compensation Period.

        18.     Accordingly, during the total Compensation Period, SNR Denton billed the

 Debtors for time expended by attorneys based on hourly rates ranging from $600 to $925 for

 partners and counsel, $265 to $550 for associates and $210 to $285 for paraprofessionals.

 Allowance of compensation in the amount requested would result in a blended hourly billing rate

 of approximately $622.95 (based on 4,128.90 recorded hours for attorneys at SNR Denton’s

 regular billing rates in effect at the time of the performance of services).

        19.     There is no agreement or understanding between SNR Denton and any other

 person, other than members of the firm, for the sharing of compensation to be received for

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 services rendered in these cases. Except as explained immediately below, during the Total

 Compensation Period, other than pursuant to the Administrative Order, SNR Denton received no

 payment and no promises of payment from any source for services rendered or to be rendered in

 any capacity whatsoever in connection with the matters covered by this Application.

        20.     Annexed hereto as Exhibit A is a certification regarding compliance with the

 Guidelines.

        21.     Pursuant to the UST Guidelines, the Summary Sheet filed in connection with this

 Application includes a schedule of SNR Denton professionals and paraprofessionals who have

 performed services for the Debtors during the Total Compensation Period, the capacities in

 which each such individual is employed by SNR Denton, the hourly billing rates charged by

 SNR Denton for services performed by such individuals, the year in which each professional was

 first licensed to practice law and the aggregate number of hours expended in this matter and fees

 billed therefore.

        22.     Annexed hereto as Exhibit B is a schedule specifying the categories of expenses

 for which SNR Denton is seeking reimbursement, and the total amount for each such expense

 category. An itemized schedule of all such expenses will be provided to the Debtors, the Court,

 the attorneys for the Creditors’ Committee, the U.S. Trustee, and the Fee Committee.

        23.     Annexed hereto as Exhibit C, pursuant to the UST Guidelines, is a summary of

 SNR Denton’s time records billed during the Total Compensation Period using project categories

 hereinafter described. SNR Denton maintains computerized records of the time spent by all SNR

 Denton attorneys and paraprofessionals in connection with the prosecution of the Debtors’

 chapter 11 cases. Copies of these computerized records will be furnished to the Debtors and,

 subject to redaction or modification for the attorney-client privilege where necessary to protect




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 the Debtors’ estates, the Court, the attorneys for the Creditors’ Committee, the U.S. Trustee, and

 the Fee Committee in the format specified by the UST Guidelines.

        24.       Annexed hereto as Exhibit D are SNR Denton’s monthly invoices for the Total

 Compensation Period.

                     SUMMARY OF SERVICES PERFORMED BY
              SNR DENTON DURING THE TOTAL COMPENSATION PERIOD

        25.       Descriptions of some of the more significant tasks performed by SNR Denton

 during the Total Compensation Period are set forth below.

        26.       Real Estate- (Matters 21416248-0616-0618, -0766, -0795-0796, -0799, -0807, -

 0824, -0831-0832, -0836, -0838, -0851, -0855, -0864-0865, and -0866-0867 & 09807760-0006, -

 0008, -0011-0013, -0016, -0020-0024, -0028-0029, -0035, and -0039.

              •   As of the Commencement Date, the Debtors and their affiliates had tens of
                  billions of dollars invested in both the debt and equity of various hotel,
                  commercial, and residential real estate projects. During the Total Compensation
                  Period, SNR Denton continued to dedicate a significant amount of time to review
                  the extensive documentation related to these projects and to implement the best
                  available course of action for the Debtors’ real estate assets. At any one time
                  during the Total Compensation Period, SNR Denton’s real estate team was
                  engaged in analyzing aspects of several real estate and loan sale/modification
                  transactions. SNR Denton’s multidisciplinary team of professionals and extensive
                  experience enabled the Debtors to expeditiously take the necessary actions to
                  preserve the value of Debtors’ real estate portfolio.
              •   For example, SNR Denton professionals conducted a foreclosure of the Ritz
                  Carlton Hotel in Maui, Hawaii.
              •   In connection with the CalWest portfolio, SNR Denton professionals analyzed
                  and advised the Debtors regarding their rights under the pooling and servicing
                  agreement, the intercreditor agreement, and several other co-lending agreements
                  with respect to approval or control of a proposed restructuring of the mortgage
                  and other mezzanine loans. SNR Denton professionals also prepared a request

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                 letter to the lead note holder in the mezzanine D loan with respect to coordinating
                 and pursuing enforcement actions.
             •   In connection with the Irvine Office Portfolio corporate loan, SNR Denton
                 professionals advised the Debtors on various options to enforce its remedies
                 against the borrower, the collateral, and the guarantor, including the process for
                 conducting a UCC foreclosure.
             •   In connection with the corporate loan secured by the John Hancock C Note, SNR
                 Denton professionals coordinated the pay off of the loan and the transfer of the
                 pledged collateral back to the borrower.
             •   In connection with the CWCapital Rakes corporate loan, SNR Denton
                 professionals analyzed and advised Lehman with respect to litigation risks and
                 enforcement actions with respect to CWCapital’s failure to provide a control
                 agreement to Lehman for the pledged collateral, engaged in extended negotiations
                 with CW Capital which resulted in the repayment of the corporate loan in full and
                 the execution of mutual releases.
             •   In connection with several other real estate holdings, SNR Denton professionals
                 reviewed loan documents, participated in negotiations on behalf of the Debtors in
                 connection with mortgage and mezzanine loan workouts, contemplated and
                 advised the Debtors regarding potential foreclosures, provided enforcement
                 analyses, put in place management agreements, and advised on various property
                 transition issues.

       27.       Additional professional services rendered by SNR Denton during the Total

 Compensation Period are described below:

       Fee/Retention-Related Issues- Matter 09807760-0030.

                 Firm’s Own Billing/Fee Applications

                        Prepared monthly fee statements and budgets in compliance with the
                         Guidelines;
                        addressed various issues raised by the Fee Committee regarding SNR
                         Denton’s monthly fee statements for compensation, treatment of
                         outstanding invoices and reimbursement; and
                        prepared and filed SNR Denton’s five interim fee applications for
                         compensation and reimbursement.

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        28.     The professional services performed by SNR Denton were actual, necessary and

 appropriate to the administration of the Debtors’ chapter 11 cases and were in the best interests

 of the Debtors and their stakeholders. Compensation for such services as requested is

 commensurate with the complexity, importance, and nature of the issues and tasks involved. The

 professional services were performed expeditiously and efficiently.

              ACTUAL AND NECESSARY DISBURSEMENTS OF SNR DENTON

        29.     As set forth in Exhibit B hereto, SNR Denton has disbursed $17,064.57 as

 expenses incurred in providing professional services during the Total Compensation Period.

 These expenses are reasonable and necessary.

        30.     While SNR Denton has not charged the Debtors for any overtime expenses,

 consistent with firm policy, attorneys and other employees of SNR Denton who worked late into

 the evenings or on weekends were reimbursed for their reasonable meal costs and their cost for

 transportation from the office to home. SNR Denton’s regular practice is not to include

 components for those charges in overhead when establishing billing rates and to charge its clients

 for these and all other out-of-pocket disbursements incurred during the regular course of the

 rendition of services. The reimbursement amounts do not exceed those set forth in the U.S.

 Trustee Guidelines.

        31.     With respect to photocopying expenses, SNR Denton’s domestic offices charge

 all of SNR Denton’s clients $.10 per page for black-and-white copies. These charges are

 intended to cover SNR Denton’s direct operating costs, which costs are not incorporated into the

 SNR Denton hourly billing rates. Only clients who actually use services of the types set forth in

 Exhibit B are separately charged for such services.

        32.     In addition, on occasion, overnight delivery of documents and other materials was

 required. These disbursements are not included in SNR Denton’s overhead for the purpose of


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 setting billing rates. The actual expenses incurred in providing professional services were

 necessary, reasonable, and justified under the circumstances to serve the needs of the Debtors,

 their estates, and creditors.

               THE REQUESTED COMPENSATION SHOULD BE ALLOWED

         33.     Section 331 of the Bankruptcy Code provides for compensation of professionals

 and incorporates the substantive standards of section 330 to govern the Court’s award of such

 compensation. 11 U.S.C. § 331. Section 330 provides that a court may award a professional

 employed under section 327 of the Bankruptcy Code “reasonable compensation for actual

 necessary services rendered . . . and reimbursement for actual, necessary expenses.” Id.

 § 330(a)(1). Section 330 also sets forth the criteria for the award of such compensation and

 reimbursement:

         In determining the amount of reasonable compensation to be awarded, the court
         should consider the nature, the extent, and the value of such services, taking into
         account all relevant factors, including –

         (A)     the time spent on such services;

         (B)     the rates charged for such services;

         (C)     whether the services were necessary to the administration of, or beneficial
                 at the time at which the service was rendered toward the completion of, a
                 case under [the Bankruptcy Code];

         (D)     whether the services were performed within a reasonable amount of time
                 commensurate with the complexity, importance, and nature of the
                 problem, issue, or task addressed; and

         (E)     whether the compensation is reasonable based on the customary
                 compensation charged by comparably skilled practitioners in cases other
                 than cases under [the Bankruptcy Code].

 Id. § 330(a)(3).

         34.     In the instant case, SNR Denton respectfully submits that the services for which it

 seeks compensation and the expenditures for which it seeks reimbursement in this application

 were necessary for and beneficial to the Debtors. The professional services were performed
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 expediently and efficiently. The compensation requested herein is reasonable in light of the

 nature, extent, and value of such services to the Debtors, their estates, and all parties in interest.

 Compensation for the foregoing services as requested is commensurate with the complexity,

 importance and nature of the problems, issues and tasks involved. Approval of the compensation

 for professional services and reimbursement of expenses sought herein is warranted.




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                                         CONCLUSION

        35.    SNR Denton respectfully requests the Court (i) final allowance of compensation

 for professional services rendered and fees incurred during the Total Compensation Period in the

 amount of $2,597,929.69, consisting of $2,580,865.12, representing fees incurred during the

 Total Compensation Period, and reimbursement of $17,064.57, representing actual and necessary

 expenses incurred during the Total Compensation Period, and (ii) direct payment by the Debtors

 of the difference between the amounts allowed and the amounts previously paid by the Debtors

 pursuant to the Administrative Order.

 Dated: July 3, 2012
        New York, New York                   SNR DENTON US LLP

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